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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,                           Case No. 03-80504

               Plaintiff,                           HONORABLE ARTHUR J. TARNOW
                                                    SENIOR UNITED STATES DISTRICT
v                                                   JUDGE

KYLE E. DRESBACH,

               Defendant.
                                            /


        ORDER PERMITTING DEFENDANT TO APPEAR VIA VIDEO TELE-CONFERENCE

       Before the Court is Defendant’s Motion For a Reduction in Sentence [313].

       The Court’s April 8, 2011 [321] order permits Defendant to appear by telephone for the

May 17, 2011 hearing. The Court has been advised that equipment is available that would

permit Defendant to appear via video tele-conference for the hearing.

       Accordingly,

       IT IS HEREBY ORDERED that Defendant may appear for the May 17, 2011 hearing

via video tele-conference.

       SO ORDERED.


Dated: April 22, 2011                       S/ARTHUR J. TARNOW
                                            ARTHUR J. TARNOW
                                            SENIOR UNITED STATES DISTRICT
                                            JUDGE
